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		OSCN Found Document:IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS

					

				
  



				
					
					
						
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				IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS2019 OK CR 29Case Number: CCAD-2019-2Decided: 12/05/2019IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS

Cite as: 2019 OK CR 29, __  __

				

IN RE: REVISION OF PORTION OF THE RULES OF THE COURT OF CRIMINAL APPEALS
ORDER AMENDING RULE 3.5 C. AND REPUBLISHING PORTIONOF THE RULES OF THE COURT OF CRIMINAL APPEALS
¶1 We find that amendment of Rule 3.5 C. of the Rules for the Oklahoma Court of Criminal Appeals is necessary to establish the newly adopted format for citation of authorities. Pursuant to the provision of Section 1051(b) of Title 22 of the Oklahoma Statutes, we hereby amend, adopt, promulgate and republish portions of the Rules of the Oklahoma Court of Criminal Appeals, 22 O.S., Ch. 18, App. (2019). As set forth, paragraphs remaining unchanged are noted; underlined text indicates new text; and text with strike-through marks indicates deleted text.
¶2 SECTION III. PERFECTING AN APPEAL IN THE COURT OF CRIMINAL APPEALS
Rule 3.5 C. Argument and Citation of Authorities.
(1) Paragraph (1) remains unchanged.
(2) Citation to opinions of the Oklahoma Court of Criminal Appeals shall include citations to the Court's official paragraph citation form. The parallel cite to the relevant edition of the Pacific Reporter is also required. Effective September 1, 2014, citation to opinions of the Oklahoma Court of Criminal Appeals shall be as follows:
(a) Oklahoma Court of Criminal Appeals Opinions in which mandate has issued prior to January 1, 1954, shall include citations to the official paragraphed citation form and to the Pacific Reporters. Parallel citation to Oklahoma Criminal Reports is strongly encouraged. Examples of permissible citation form include:(i) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 264 P.2d 997.(ii) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 264 P.2d 997, 998.(iii) Hunter v. State, 1953 OK CR 155, 97 Okl.Cr. 402, 403, 264 P.2d 997, 998.(iv) Hunter v. State, 1953 OK CR 155, 264 P.2d 997.(v) Hunter v. State, 1953 OK CR 155, 264 P.2d 997, 998.(b) Oklahoma Court of Criminal Appeals Opinions in which mandate has issued after January 1, 1954, shall include citation to the official paragraph citation form public domain format of the Oklahoma Court of Criminal Appeals and to the relevant edition of the Pacific Reporter. Examples of permissible citation form include:(i) Burns v. State , 1955 OK CR 46, 282 P.2d 258.(ii) Burns v. State, 1955 OK CR 46, 282 P.2d 258, 259.(iii) Burns v. State, 1955 OK CR 46, ¶ 9, 282 P.2d 258, 259.
In "Burns v. State, 1955 OK CR 46, ¶ 9, 282 P.2d 258" - "1955" refers to the year the mandate issued, "OK CR" is the court designation for the Oklahoma Court of Criminal Appeals, "46" is the number of that 1955 opinion assigned by the Court, "¶ 9" is paragraph number 9 of the opinion as designated by the Court, and "282 P.2d 258" is the parallel citation to the Pacific 2nd reporter.
(c) An opinion cited subsequent to issuance of the mandate but prior to official publication shall include citation to the Oklahoma Bar Journal and the official paragraph citation form public domain format of the Oklahoma Court of Criminal Appeals. Examples of permissible citation form include:
(i) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379.(ii) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379, 1381.(iii) Robinson v. State, 1997 OK CR 24, ¶ 3, 68 OBJ 1379, 1381.
(d) Opinions of the Oklahoma Court of Criminal Appeals issued for publication shall be published on the Oklahoma State Courts Network at www.oscn.net. Such opinions may not be cited as authority in a subsequent appellate opinion nor used as authority by a trial court until the mandate in the matter has issued. After the mandate has issued, the opinion as published on the Web site shall constitute the official paragraph citation form public domain format of the Oklahoma Court of Criminal Appeals. See Rule 1.0(D) for citation to Rules.
(2) Opinions of the Oklahoma Court of Criminal Appeals issued for publication shall be published on the Oklahoma State Court Network website as www.oscn.net. Opinions published on the website shall be the official public domain versions of the Court's opinions. See Rule 1.0(D) for citation to Rules.

(a) Citation to opinions of the Oklahoma Court of Criminal Appeals shall include citation to the official public domain citation form and to the relevant edition of the Pacific Reporter. Parallel citation to Oklahoma Criminal Reports is permitted but not required. The official public domain format includes the style of the case, the year the mandate issued, the "OK CR" designation, and the number assigned to the opinion by the Court. Citations shall include pinpoint citations to paragraph and/or page numbers. Examples of permissible parallel citation form include:
(i) Musonda v. State, 2019 OK CR 1, 435 P.3d 694.(ii) Musonda v. State, 2019 OK CR 1, ¶ 7, 435 P.3d 694, 696.

(b) An opinion cited subsequent to issuance of the mandate but prior to official publication shall include citation to the Oklahoma Bar Journal and the official public domain format of the Oklahoma Court of Criminal Appeals. Examples of permissible parallel citation form include:
(i) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379.(ii) Robinson v. State, 1997 OK CR 24, 68 OBJ 1379, 1381.(iii) Robinson v. State, 1997 OK CR 24, ¶ 3, 68 OBJ 1379, 1381.
(3) Paragraph (3) remains unchanged.
(4) Citation to opinions of the United States Supreme Court shall include each of the following: U.S., S.Ct., L.Ed. (year).
(4) Citation to opinions of the United States Supreme Court shall include: Case name, volume, U.S., first page of case (year). If a U.S. citation is unavailable cite as follows: case name, volume, S.Ct. first page of case (year). Citations shall include pinpoint citations to page numbers.
(5) Paragraph (5) remains unchanged.
(6) Paragraph (6) remains unchanged.
¶3 IT IS THEREFORE ORDERED ADJUDGED AND DECREED that these amendments shall become effective on the date of this order.
¶4 IT IS SO ORDERED.
¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 5th day of December, 2019.
/S/DAVID B. LEWIS, Presiding Judge
/S/DANA KUEHN, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/ROBERT L. HUDSON, Judge
/S/SCOTT ROWLAND, Judge
ATTEST:
/S/JOHN HADDENClerk




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